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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
GAUDENCIO GARCIA ORTIZ,

                                   Plaintiff,                          JUDGMENT
                                                                       15-CV-4229 (RRM) (LB)
                 - against –

CESARE CONSTRUCTION CORP.;
and CESARE RIVERA,

                                    Defendants.
----------------------------------------------------------- X

                 An Order of Honorable Roslyn R. Mauskopf, United States District Judge, having

been filed on October 30, 2017, adopting in its entirety the Report and Recommendation of

Magistrate Judge Lois Bloom, dated September 14, 2016; ordering that default judgment be

entered in favor of Ortiz against Cesare Construction Corporation and Cesare Rivera in the total

amount of $46,845.41, comprised of: (i) $20,643.03 in unpaid overtime wages under the NYLL

and FLSA; (ii) $ 14,999.38 in liquidated damages; (iii) $5,000 in NYLL notice violations; (iv)

$5,503 in attorney's fees; (v) $700 in costs; and (vi) 9% prejudgment interest per annum from

March 9, 2016 through the entry of judgment on the $20,277.22 awarded under the New York

Labor Law; and the Clerk of Court having calculated prejudgment interest at 9% per annum from

March 9, 2016 and the prejudgment interest being $3,004.90; it is

        ORDERED and ADJUDGED that default judgment is hereby entered in favor of Ortiz
and against Cesare Construction Corporation and Cesare Rivera in the total amount
of $49,850.31.

Dated: Brooklyn, NY                                                    Douglas C. Palmer
October 31, 2017                                                       Clerk of Court

                                                                By:   /s/Jalitza Poveda
                                                                        Deputy Clerk
